            Case 25-11729-amc                         Doc 5           Filed 05/02/25 Entered 05/02/25 11:58:24             Desc Main
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                                                               United States Bankruptcy Court
                                                                     Eastern District of Pennsylvania
 In re      Erie Kash Out Properties LLC                                                                   Case No.
                                                                                   Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Erie Kash Out Properties LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



     None [Check if applicable]




 May 2, 2025                                                           /s/ Brad Sadek
 Date                                                                  Brad Sadek
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Erie Kash Out Properties LLC
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